






NO. 07-04-0106-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



APRIL 2, 2004


______________________________



THE STATE OF TEXAS,




		Appellant


v.



MIGUEL GONZALES TORRES, 




		Appellee

_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B14340-0202; HON. ED SELF, PRESIDING


_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

	Appellant The State of Texas, by and through its attorney, has filed a motion to
dismiss this appeal because the State has no right to appeal since it had already been
dismissed on the State's motion.  Without passing on the merits of the case, we grant the
motion  pursuant to Texas Rule of Appellate Procedure 42.1(a)(2) and dismiss the appeal. 
Having dismissed the appeal at appellant's request, no motion for rehearing will be
entertained, and our mandate will issue forthwith.

																			Brian Quinn

							   Justice

Do not publish.



   
   
  









NO. 07-09-0209-CR

&nbsp;

IN THE
COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JULY
21, 2010

&nbsp;



&nbsp;

EUGENE THOMAS, &nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant


v.

&nbsp;

THE STATE OF TEXAS,

&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

_____________________________

&nbsp;

FROM THE 47TH DISTRICT COURT OF POTTER
COUNTY;

&nbsp;

NO. 57,836-A; HONORABLE HAL MINER,
PRESIDING

&nbsp;



&nbsp;

Anders
Opinion

&nbsp;



&nbsp;

Before QUINN, C.J., and CAMPBELL&nbsp; and HANCOCK, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp; Eugene Thomas was convicted, after a jury
trial, of the felony offense of driving while intoxicated.&nbsp; His punishment was enhanced by a prior
conviction, and he was sentenced to confinement for nine years.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants
appointed counsel has filed a motion to withdraw, together with an Anders brief,[1]
wherein he certifies that, after diligently searching the record, he has concluded
that appellants appeal is without merit.&nbsp;
Along with his brief, he has filed a copy of a letter sent to appellant
informing him of counsels belief that there was no reversible error and of
appellants right to file a brief or response pro se.&nbsp; By letter dated
January 8, 2010, this court also notified appellant of his right to file his
own response by February 8, 2010, if he wished to do so.&nbsp; Appellant timely filed a response in which he
alleged that his trial counsel was ineffective for not letting him testify at
trial[2]
and in failing to object to testimony of the States main witness.

In compliance with the principles enunciated
in Anders, appellate counsel
discussed several potential areas for appeal.&nbsp;
They include:&nbsp; 1) the factual
sufficiency of the evidence to support the conviction, 2) the effectiveness of
trial counsel, 3) the excessiveness of appellants punishment, and 4) possible
error in the admission of a trial exhibit.&nbsp;
However, counsel discussed the applicable law and represented that he analyzed
the facts of this case within the context of that law and determined that no
reversible error existed.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

We have also conducted our own review of the
record to assess the accuracy of appellate counsels conclusions and to uncover
any reversible error pursuant to Stafford
v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), along with appellants
response, and concluded the same. 

&nbsp;

&nbsp;

&nbsp;

Accordingly, the motion to withdraw is
granted and the judgment is affirmed.[3]

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Brian
Quinn 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice

Do
not publish.











[1]See Anders v. California, 386 U.S. 738,
744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).





[2]Appellant
testified at trial, outside the presence of the jury, that he had discussed
with his counsel whether he should testify and that he (appellant) felt like
its best for me not to testify.&nbsp; 





[3]Appellant
has the right to file a pro se petition for discretionary review from
this opinion.

&nbsp;

&nbsp;







